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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

MATTHEW A. MITCHELL                             §
                                                §
       Plaintiff,                               §
                                                §
                                                  CIVIL ACTION NO. 4:15-cv-230
v.                                              §
                                                §
                                                  JURY
TRAVELERS LLOYDS OF TEXAS                       §
INSURANCE COMPANY                               §
                                                §
       Defendant.                               §


                          DEFENDANT’S NOTICE OF REMOVAL

       Defendant Travelers Lloyds of Texas Insurance Company (“Travelers” or “Defendant”)

files its Notice of Removal of this action from the County Court at Law No. 6 of Collin County,

Texas to the United States District Court for the Eastern District of Texas, Sherman Division, the

District and Division encompassing the state court in which this action is pending. This Notice

of Removal is filed pursuant to 28 U.S.C. §§ 1441 and 1446. In support hereof, Travelers shows

this Court as follows:

       1.      On February 25, 2015, Plaintiff Matthew A. Mitchell (“Plaintiff”) filed an

Original Petition (the “Complaint”) in the County Court at Law No. 6 of Collin County, Texas,

styled Matthew A. Mitchell v. Travelers Lloyds of Texas Insurance Company, where it was

assigned Cause No. 006-00508-2015.

       2.      On March 4, 2015, Travelers was served with a citation and the Complaint.

Removal is timely because thirty (30) days have not elapsed since Travelers was served with a

summons or citation. 28 U.S.C. §1446(b)(1); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526




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U.S. 344, 354 (1999) (holding that the 30-day deadline to remove begins on the date the

summons or citation is served even if the complaint is received at a prior date).

       3.      Travelers is, contemporaneously with the filing of this Notice, giving written

notice of filing of this Notice of Removal to the clerk of the County Court at Law No. 6 of Collin

County, Texas, and will serve a copy of the Notice of Removal on Plaintiff.

       4.      In accordance with Local Rule CV-81, attached are the following:

               Exhibit A:     A list of all parties in the case, their party type, current status of the
                              removed case, list of the attorneys involved in the action, a record
                              of the party that requested trial by jury, if any, and the name and
                              address of the court from which the case is being removed;

               Exhibit B:     A certified copy of the state court docket sheet; and

               Exhibit C:     A copy of all documents filed in the state court action.


                              GROUND FOR REMOVAL: DIVERSITY

       5.      This Court has original jurisdiction over this case under 28 U.S.C. § 1332 because

this is a civil action between citizens of different States where the matter in controversy exceeds

$75,000.


               (a)     The amount in controversy               exceeds    the    federal    minimum
                       jurisdictional requirements.

       6.      In his Complaint, Plaintiff alleges Travelers failed to properly adjust an insurance

claim and refused to adequately compensate him for covered losses under the insurance policy.

Plaintiff does not specify the dollar amount of damages he seeks to recover in his Complaint.

However, Plaintiff does state that he seeks the “amount of the policy benefits withheld,” direct

and indirect consequential damages, exemplary damages, damages for mental anguish, and

attorney’s fees.     See Ex. C-1 at ¶ 58.       Furthermore, in connection with his claims of




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noncompliance with the Texas Unfair Competition and Unfair Practices Act, Plaintiff seeks

“three times economic damages and three times mental anguish damages.” Id.

       7.      When, as in this case, the complaint does not plead an amount in controversy, the

removing defendant has the burden of proving that the amount in controversy exceeds the sum of

$75,000. Felton v. Greyhound Lines, Inc., 324 F.3d 771, 773-74 (5th Cir. 2003). When a

plaintiff pleads for trebling of damages and attorney’s fees, those sums must be considered in

determining whether the amount in controversy exceeds $75,000. See Dow Agrosciences, LLC

v. Bates, 332 F.3d 323, 326 (5th Cir. 2003); White v. FCI USA, Inc., 319 F.3d 672, 675 (5th Cir.

2003). Attorney’s fees are an element of the amount in controversy where their recovery is

authorized by a statute under which the plaintiff sues. H&D Tire & Auto Hardware, Inc. v.

Pitney Bowes, Inc., 227 F.3d 326, 330 (5th Cir. 2000), cert denied, 534 U.S. 894 (2001).

       8.      While it is not known what amount of policy benefits Plaintiff is seeking, Plaintiff

previously provided Travelers with an estimate for $20,702.96, presumably the amount he claims

he is entitled to under the policy. In addition, Plaintiff is seeking treble damages, damages for

mental anguish and attorney’s fees, likely premised on a contingent fee of 40%. Considering all

of these elements of damage, Plaintiff’s claims exceed $75,000, exclusive of interest and costs.

Accordingly, this Court has jurisdiction and removal is proper.


               (b)     Complete diversity between Plaintiff and Defendant exists.

       9.      Plaintiff was at the time of the filing of this action, has been at all times since, and

is still an individual resident citizen of the State of Texas. For diversity purposes, an individual

is a citizen of the state of his domicile, which is the place of his true, fixed, and permanent home

and principal establishment, to which he has the intention of returning home whenever he is




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absent therefrom. See Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954). Accordingly, Plaintiff

is a citizen of Texas.

       10.     Travelers is a Lloyd’s plan insurance association and is an unincorporated

association. For purposes of diversity jurisdiction, the citizenship of a Lloyd’s plan insurance

association is determined by the citizenship of its underwriters. Royal Ins. Co. of Am. v. Quinn-L

Capital Corp., 3 F.3d 877, 882-83 (5th Cir. 1993); see also State Farm Lloyds v. Peed, No.

CIV.A. 3:00CV1696-BC, 2001 WL 513427 (N.D. Tex. May 9, 2001) (“For purposes of diversity

jurisdiction, a Lloyds Plan insurer is considered an ‘unincorporated association’ whose

citizenship is determined solely by the citizenship of its underwriters.”). Travelers’ underwriters

are all citizens of Connecticut; none of its underwriters are citizens of Texas. Accordingly,

Travelers is a citizen of Connecticut.

        11.     Accordingly, because the amount in controversy exceeds $75,000 and Plaintiff is

a citizen of Texas while Defendant is a citizen of Connecticut, this Court has original jurisdiction

over the present action pursuant to 28 U.S.C. § 1332. Removal is therefore proper.

       WHEREFORE, Travelers prays that the above-described action now pending in the

County Court at Law No. 6 of Collin County, Texas be removed to this Court.




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                                              Respectfully submitted,

                                                /s/ Wm. Lance Lewis
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                                              ATTORNEYS FOR DEFENDANT
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                                              INSURANCE COMPANY


                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing pleading has been furnished
to Plaintiff’s counsel of record, via certified mail, return receipt requested, in accordance with
the Federal Rules of Civil Procedure, this 3rd day of April, 2015.

                                      Eric B. Dick, LL.M.
                                      DICK LAW FIRM, PLLC
                                      3701 Brookwoods
                                      Houston, Texas 77092

                                               /s/ Marcie L. Schout
                                              Marcie L. Schout

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